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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                       )
                                                 )
        Plaintiff,                               )     Criminal No. 6:13-cr-049-GFVT-HAI-8
                                                 )
 V.                                              )
                                                 )
 WILLIE TRAMPUS HOSKINS,                         )                     ORDER
                                                 )
                                                 )
        Defendant.

                                       *** *** *** ***

       This matter is before the Court on the Recommended Disposition [R. 375] filed by

United States Magistrate Judge Hanly A. Ingram. The Defendant, Willie Trampus Hoskins, is

charged with three violations of his supervised release including a failure to attend a mandatory

scheduled status hearing, unauthorized use of a controlled substance, and committing another

federal crime by using and possessing methamphetamine. [R. 375 at 1-2.] Due to his failure to

appear at the scheduled status hearing, an arrest warrant was issued by the Court on March 3,

2017. [R. 364.] The warrant was executed and Hoskins was detained on March 9, 2017. [R.

368.] An initial appearance pursuant to Rule 32.1 was conducted on March 10, 2017, at which

the defendant’s probation officer brought forth the results of a urine sample which tested positive

for methamphetamine. [R. 375 at 2.] After Hoskins was confronted with the urine sample that

tested positive for methamphetamine, Hoskins admitted to using methamphetamine on March 6,

2017, in clear violation of the conditions of his supervised release. [R. 370.] The defendant

made a knowing, voluntary, and intelligent waiver of the right to a preliminary hearing on all
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three charges. [Id.] The government moved for interim detention of the defendant, which the

Court granted. [Id.] Judge Ingram then set a date of March 20, 2017 to conduct a final

revocation hearing and recommend a proposed disposition of the matter. [Id.] The USPO issued

an addendum that contained two additional violations of the Standard Conditions; the use and

possession of a controlled substance and the failure to refrain from committing another federal,

state or local crime. [R. 375 at 3.]

       Concerning the instant offense, Judge Ingram conducted a final hearing on March 20,

2017, during which Defendant Hoskins competently stipulated to all charged violations. [R. 372,

R. 375 at 3.] On March 21, 2017, Judge Ingram issued a Recommended Disposition which

recommended revocation of Hoskins’ term of supervised release and a term of incarceration for

twelve (12) months with one year of supervised release to follow. [Id. at 9.] Judge Ingram

appropriately considered the 18 U.S.C. § 3553 factors in coming to his recommended sentence,

and particularly noted Defendant’s troubling history of crime and substance abuse, the danger he

poses to himself and others when he is using drugs, and the disturbing matter of Hoskins’

violation of the Court’s trust in this instance. [Id. at 8-9.] Pursuant to Rule 59(b) of the Federal

Rules of Criminal Procedure, the Recommended Disposition further advises the parties that

objections must be filed within fourteen (14) days of service. [Id. at 10.] See 28 U.S.C.

§ 636(b)(1). Defense counsel has filed a notice with the Court that Hoskins does not intend to

challenge the Magistrate’s Recommendation and submitted a waiver of allocution. [R. 376.]

       Generally, this Court must make a de novo determination of those portions of the

Recommended Disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, as in this case, this Court is not required to “review . . . a magistrate’s


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factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474

U.S. 140, 151 (1985). Parties who fail to object to a magistrate judge’s report and

recommendation are also barred from appealing a district court’s order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this

Court has examined the record and agrees with Magistrate Judge Ingram’s Recommended

Disposition. Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.      The Recommended Disposition [R. 375] as to Defendant Willie Trampus Hoskins

is ADOPTED as and for the Opinion of the Court;

       2.      Defendant Hoskins is found to have violated the terms of his Supervised Release

as set forth in the Report filed by the U.S. Probation Officer, the Addendum, and the

Recommended Disposition of the Magistrate Judge;

       3.      Hoskins’ Supervised Release is REVOKED;

       4.      Hoskins is SENTENCED to the Custody of the Bureau of Prisons for a term of

twelve (12) months with a term of one (1) year of supervised release to follow;

       5.      The Bureau of Prisons will ultimately designate the qualifying facility where

Defendant Hoskins will serve his period of incarceration. Pursuant to the Defendants’ request

and the Magistrate Judges’ Recommended Disposition, this Court will Recommend that the

Defendant be designated to USP McCreary.

       6.      The Defendant’s term of supervised release shall be imposed under the conditions

previously identified at Docket Entry 304.




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This the 19th day of June, 2017.




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